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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                       MIAMI DIVISION


    ISMALIS MENDOZA,

                   Plaintiff,                        CASE NO. _____________________

           v.                                        L.C. Case No. 2020-002389-CA-01.

    MARRIOTT INTERNATIONAL, INC., a
    Foreign Profit Corporation, and SOUTH
    BEACH TRISTAR, LLC, a Florida limited
    liability company,

                   Defendants.


                                DEFENDANTS’ NOTICE OF REMOVAL

           Defendants Marriott International, Inc. (“Marriott”), and South Beach Tristar, LLC

    (“Tristar”)(collectively, “Defendants”) by and through their undersigned counsel, and

    pursuant to 28 U.S.C. §§ 1441(a) and 1446(b), hereby remove this action from the Circuit

    Court of the Eleventh Judicial Circuit in and for Miami-Dade County, Florida, to the United

    States District Court for the Southern District of Florida, Miami Division. A short and plain

    statement of the grounds for removal is as follows:

           1.      On February 4, 2020, Plaintiff filed this action against Defendants in the

    Circuit Court of the Eleventh Judicial Circuit in and for Miami-Dade County, Florida, Case

    No. 2020-002389-CA-01.

           2.      The Summons and Complaint were served on Defendant Marriott

    International, Inc. on February 18, 2020. Pursuant to 28 U.S.C. § 1446(b), this notice is filed
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    timely within thirty (30) days after Defendant Marriott received Plaintiff’s Summons and

    Complaint.

           3.      Plaintiff’s Complaint contains a claim for unpaid overtime wages under the

    Fair Labor Standards Act, 29 U.S.C. § 201, et seq. (“FLSA”), as well as claims that Plaintiff

    was subjected to discrimination and a hostile work environment on the basis of her disability.

    Accordingly, pursuant to 28 U.S.C. § 1331 (federal question jurisdiction), this Court has

    original jurisdiction with respect to the FLSA claim because it is an action to recover

    damages or to secure equitable relief or any other relief under an Act of Congress.

    Furthermore, this Court has supplemental jurisdiction with respect to disability claims

    pursuant to 28 U.S.C. §§ 1441(c) and 1367(a), as such claims also arise from her purported

    employment with Defendants and from part of the same case or controversy as the FLSA

    claim. Furthermore, Plaintiff has filed a charge of discrimination with the EEOC with

    respect to her disability claims, which is still pending before the Commission, and Plaintiff

    will in all likelihood move to amend her Complaint to bring additional claims under the

    Americans With Disabilities Act, 42 U.S.C. § 12101, et seq., once a notice of right to sue is

    received from the Commission. Therefore, removal to this Court of the FLSA and disability

    claims is proper.

           4.      The events alleged by Plaintiff giving rise to Plaintiff’s FLSA and disability

    claims allegedly occurred in Miami-Dade County, Florida, which is within this Court’s

    district. (Complaint at ¶¶ 18-19.) Accordingly, venue is proper in the Miami Division of the

    United States District Court, Southern District of Florida.




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           5.      Pursuant to 28 U.S.C. § 1446(a), Defendants have attached a copy of all

    process, pleadings, and orders served upon Defendants in this action. (See attached

    Composite Exhibit A.)

           6.      Pursuant to 28 U.S.C. § 1446(d), Defendants have given written notice of this

    notice of removal to Plaintiff, the only adverse party. In addition, Defendants have filed a

    copy of the notice of filing notice of removal with the clerk of the state court, which shall

    effect the removal. (See attached Exhibit B.)

           Dated this 18th day of March, 2020.

                                               Respectfully submitted,



                                               By: /s/ Dawn Siler-Nixon
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                                                    Tristar, LLC




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                                  CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that on March 18, 2020, I electronically filed the foregoing

    with the Clerk of the Court by using the CM/ECF system. I further certify that a true and

    correct copy of the foregoing has been sent via e-mail to:

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                               Attorney for Plaintiff Ismalis Mendoza


                                                 /s/ Dawn Siler-Nixon
                                                 Dawn Siler-Nixon

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